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US, Department of Justice PROCESS RECEIPT AND RETURN (Y
United States Marshals Service See “Instructions for Service of Process by US. Marshal" v
a SE EET TT TRS

PLAINTIFF COURT CASE NUMBER

Melanie Moore 8:20-cv-02 184-MSS-SPF

DEFENDANT TYPE OF PROCESS

Luis Marquez Summons and Complaint

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE Luis Marquez
AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
8625 Northwest 169th Terrace Miami Lakes, Florida 33016-6158

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be I
served with this Form 285
Melanie Moore , Number of partics tobe
15519 Darien Way : served in this case
Clearwater, Florida 33764 Cet fat service Waiv ed

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business aid Ailerncie Adresses,
All Tetephone Numbers, and Estimated Times Avaliable for Service):

305-987-4489
8181 NW 154th Street Suite 270 Miami Lakes, Florida 33016 (Business Address)

Signature of Atto other Originator requesting service on behalf of: {J PLAINTIFF TELEPHONE NUMBER DATE
: (CO DEFENDANT 727 692-0143 November 3, 2020
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LINE
[acknowledge receipt for the tolat_ { Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated. Origin Serve

(Sign only for USM 285 if more

than one USM 285 is submitted) No. No.

Lhereby certify and return that I (7 have personally served , [_] have legal evidence of service, ["] have executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc shown at the address inserted below

[1 Thereby certify and return that! am unable fo locate the individual, company, corporation, etc. named above (See remarks below)

Name and title of individual served (if not shown above) = Date Time ym
a Bulan | Non Om
Address (complete only different than shown above) Signature of U.S. Marsha! or Deputy
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snes lhc tctaanincica emcee . ane scsi

Service Ree Total Mileage: Charges Forwarding Fee Total Charges Advance Deposits | Amount owed to U.S, Marshal* or

fi t S sO. (including endeavors) (Amount of Refund*)

“REMARKS _ OO — OO

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2. 13f4f/z0 PerormeMy seve Lui s Movguee at 585) Estples Dr.
Southwest is FL : 3 =

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eo Form USM-285
PRIOR VERSIONS OF THIS FORM ARE OBSOLETE Rev. 11/18
